Case 2:20-cv-02678-AB-FFM Document 28 Filed 03/23/20 Page 1 of 1 Page ID #:8

                                              United States District Court
                                                 Central District of California      Cristina M. Squieri Bullock
                                                  Office of the Clerk               Chief Deputy of Administration
                                                                                    350 West 1st Street, Suite 4311
                                                                                       Los Angeles, CA 90012

               Kiry K. Gray                                                                Sara Tse Soo Hoo
  District Court Executive / Clerk of Court                                           Chief Deputy of Operations
       350 West 1st Street, Suite 4311                                            255 East Temple Street, Suite TS-134
           Los Angeles, CA 90012                                                        Los Angeles, CA 90012



                                                 March 23, 2020


To: All Counsel of Record
       Re: Former Case No.          2:20−cv−00120 ECM−JTA
       in the United States District Court for the Alabama Middle
    Assigned Case No.        2:20−cv−02678−AB−FFM               MDL No.                          2:18−ml−2814
AB (FFMx)
    in the United States District Court, Central District of California

Dear Sir/Madam:

      The above-referenced case has been transferred to this district. The initials after the
number indicate the case has been assigned to Judge          Andre Birotte Jr        by the
Judicial Panel on Multidistrict Litigation. All future correspondence, pleadings, and other
documents must bear both the MDL case number and the number assigned to the case in this
district. Documents are forwarded to the judge by the initials in the case number, so it is
important that the correct case number and judge’s initials appear on the documents. Please
address all future communications concerning this action to the Courtroom Deputy for the
assigned judge.
      Unless otherwise ordered by the Court, all documents must be filed electronically.
MDL documents must list the MDL case first in the caption, and then list the titles and case
numbers of each individual case to which the document relates. If the document relates to
ALL actions, only the MDL case title and number need appear in the caption, followed by
the statement, “THIS DOCUMENT RELATES TO ALL ACTIONS.”
      Please review this Court’s local rules, which may differ from those of other United
States Courts in which you practice. Although Pro Hac Vice admittance is not required in
MDL actions, counsel are expected to comply with the Federal and Local Rules.
    The Local Rules and various court forms can be downloaded from this Court’s website
at www.cacd.uscourts.gov.

                                                                    Sincerely,
                                                                    Clerk, U.S. District Court

                                                                    By: /s/ Edwin Sambrano
                                                                        Deputy Clerk


 CV−119 (05/18)                    LETTER TO COUNSEL RE: MDL TRANSFER−IN
